  Case 1:18-cv-01570-CFC Document 1 Filed 10/11/18 Page 1 of 12 PageID #: 1



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 PAUL PARSHALL, Individually and On                  )
 Behalf of All Others Similarly Situated,            )
                                                     )
                         Plaintiff,                  )   Case No. _____________
                                                     )
         v.                                          )   CLASS ACTION
                                                     )
 FCB FINANCIAL HOLDINGS, INC.,                       )   JURY TRIAL DEMANDED
 VINCENT S. TESE, LESLIE J.                          )
 LIEBERMAN, ALAN S. BERNIKOW,                        )
 THOMAS E. CONSTANCE, HOWARD R,                      )
 CURD, KENT S. ELLERT, GERALD                        )
 LUTERMAN, WILLIAM LAWRENCE                          )
 MACK, PAUL ANTHONY NOVELLY II,                      )
 STUART I. ORAN, FREDERIC V.                         )
 SALERNO, SYNOVUS FINANCIAL                          )
 CORP., and AZALEA MERGER SUB                        )
 CORP.,                                              )
                                                     )
                         Defendants.                 )

  COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

       Plaintiff, by his undersigned attorneys, for this complaint against defendants, alleges upon

personal knowledge with respect to himself, and upon information and belief based upon, inter

alia, the investigation of counsel as to all other allegations herein, as follows:

                                      NATURE OF THE ACTION

       1.      This action stems from a proposed transaction announced on July 24, 2018 (the

“Proposed Transaction”), pursuant to which FCB Financial Holdings, Inc. (“FCB” or the

“Company”) will be acquired by Synovus Financial Corp (“Parent”) and Azalea Merger Sub Corp.

(“Merger Sub,” and together with Parent, “Synovus”).

       2.      On July 23, 2018, FCB’s Board of Directors (the “Board” or “Individual

Defendants”) caused the Company to enter into an agreement and plan of merger with Synovus
  Case 1:18-cv-01570-CFC Document 1 Filed 10/11/18 Page 2 of 12 PageID #: 2



(the “Merger Agreement”). Pursuant to the terms of the Merger Agreement, FCB’s stockholders

will receive 1.055 shares of Parent common stock for each share of FCB they own.

       3.      On September 14, 2018, defendants filed a Form S-4 Registration Statement (the

“Registration Statement”) with the United States Securities and Exchange Commission (the

“SEC”) in connection with the Proposed Transaction.

       4.      The Registration Statement omits material information with respect to the Proposed

Transaction, which renders the Registration Statement false and misleading. Accordingly, plaintiff

alleges herein that defendants violated Sections 14(a) and 20(a) of the Securities Exchange Act of

1934 (the “1934 Act”) in connection with the Registration Statement.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the claims asserted herein pursuant to Section 27

of the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the 1934

Act and Rule 14a-9.

       6.      This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       7.      Venue is proper under 28 U.S.C. § 1391(b) because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                             PARTIES

       8.      Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of FCB common stock.

       9.      Defendant FCB is a Delaware corporation and maintains its principal executive




                                                  2
  Case 1:18-cv-01570-CFC Document 1 Filed 10/11/18 Page 3 of 12 PageID #: 3



offices at 2500 Weston Road, Suite 300, Weston, Florida 33331. FCB’s common stock is traded

on the NYSE under the ticker symbol “FCB.” FCB is a party to the Merger Agreement.

       10.     Defendant Vincent S. Tese is the Chairman of the Board of FCB.

       11.     Defendant Leslie J. Lieberman is a director of FCB.

       12.     Defendant Alan S. Bernikow is a director of FCB.

       13.     Defendant Thomas E. Constance is a director of FCB.

       14.     Defendant Howard R. Curd is a director of FCB.

       15.     Defendant Kent S. Ellert is a director of FCB.

       16.     Defendant Gerald Luterman is a director of FCB.

       17.     Defendant William Lawrence Mack is a director of FCB.

       18.     Defendant Paul Anthony Novelly II is a director of FCB.

       19.     Defendant Stuart I. Oran is a director of FCB.

       20.     Defendant Frederic V. Salerno is a director of FCB.

       21.     The defendants identified in paragraphs 10 through 20 are collectively referred to

herein as the “Individual Defendants.”

       22.     Defendant Parent is a Georgia corporation and a party to the Merger Agreement.

       23.     Defendant Merger Sub is a Delaware corporation, a wholly-owned subsidiary of

Parent, and a party to the Merger Agreement.

                               CLASS ACTION ALLEGATIONS

       24.     Plaintiff brings this action as a class action on behalf of himself and the other public

stockholders of FCB (the “Class”). Excluded from the Class are defendants herein and any person,

firm, trust, corporation, or other entity related to or affiliated with any defendant.

       25.     This action is properly maintainable as a class action.




                                                   3
  Case 1:18-cv-01570-CFC Document 1 Filed 10/11/18 Page 4 of 12 PageID #: 4



        26.     The Class is so numerous that joinder of all members is impracticable. As of July

20, 2018, there were approximately 46,775,408 shares of FCB common stock outstanding, held by

hundreds, if not thousands, of individuals and entities scattered throughout the country.

        27.     Questions of law and fact are common to the Class, including, among others: (i)

whether defendants violated the 1934 Act; and (ii) whether defendants will irreparably harm

plaintiff and the other members of the Class if defendants’ conduct complained of herein continues.

        28.     Plaintiff is committed to prosecuting this action and has retained competent counsel

experienced in litigation of this nature. Plaintiff’s claims are typical of the claims of the other

members of the Class and plaintiff has the same interests as the other members of the Class.

Accordingly, plaintiff is an adequate representative of the Class and will fairly and adequately

protect the interests of the Class.

        29.     The prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications that would establish incompatible standards

of conduct for defendants, or adjudications that would, as a practical matter, be dispositive of the

interests of individual members of the Class who are not parties to the adjudications or would

substantially impair or impede those non-party Class members’ ability to protect their interests.

        30.     Defendants have acted, or refused to act, on grounds generally applicable to the

Class as a whole, and are causing injury to the entire Class. Therefore, final injunctive relief on

behalf of the Class is appropriate.

                                SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

        31.     FCB is a national bank holding company that was formed in 2009 to create a

premier Florida-based regional banking franchise.




                                                 4
  Case 1:18-cv-01570-CFC Document 1 Filed 10/11/18 Page 5 of 12 PageID #: 5



       32.    FCB is the parent of Florida Community Bank, a national banking association with

over $10 billion in total assets, $1.1 billion in capital, and fifty full-service banking centers

throughout Florida. Florida Community Bank serves the needs of commercial and personal

customers through its wide variety of business and personal banking products.

       33.    On July 23, 2018, FCB’s Board caused the Company to enter into the Merger

Agreement.

       34.    Pursuant to the terms of the Merger Agreement, FCB’s stockholders will receive

1.055 shares of Parent common stock for each share of FCB they own.

       35.    According to the press release announcing the Proposed Transaction:

       Synovus Financial Corp. (NYSE: SNV) and FCB Financial Holdings, Inc. (NYSE:
       FCB) today jointly announced their entry into a definitive merger agreement under
       which Synovus will acquire FCB Financial Holdings, Inc., owner of Florida
       Community Bank (FCB), Florida’s largest community bank. With the addition of
       FCB, Synovus will become a top five regional bank by deposits in the Southeast
       region with pro forma $36 billion in deposits and $44 billion in assets. The
       transaction is expected to close by the first quarter of 2019.

       The combination of FCB with Synovus will create the largest mid-cap bank in the
       Southeast by deposits, and will elevate the company’s growth profile through a
       deepened presence in high-growth Florida markets. Following the closing, FCB
       will merge with Synovus Bank and operate under the Synovus brand, and FCB
       Financial Holdings President and CEO Kent Ellert will be executive vice president
       of Synovus and Florida market president.

       Under the terms of the merger agreement, FCB shareholders will receive a fixed
       ratio of 1.055 shares of Synovus common stock for each common share of FCB in
       an all-stock transaction. Based on Synovus’ closing share price on July 23, 2018,
       the transaction is valued at $58.15 per FCB share or $2.9 billion in aggregate.
       Following completion of the merger, former FCB shareholders will own
       approximately 30% of the combined company. In addition, based on the exchange
       ratio, Synovus’ most recent quarterly dividend translates to a pro forma annualized
       dividend of $1.06 per FCB share. The transaction is expected to be tax free to FCB
       shareholders. . . .

       In Florida, Synovus gains $9.9 billion in deposits and 50 full-service banking
       centers, with significant market share in all top 10 Florida markets including
       Miami-Dade, the largest market by population in the Southeast. The transaction



                                               5
  Case 1:18-cv-01570-CFC Document 1 Filed 10/11/18 Page 6 of 12 PageID #: 6



       deepens Synovus’ commitment to Florida, complementing its presence in
       Pensacola, Tampa, Jacksonville, Orlando, Sarasota, and Naples with FCB’s
       market-leading presence across South Florida.

       Synovus expects approximately $40 million in pretax synergies to be fully realized
       by 2020. Excluding one-time charges, Synovus expects the acquisition to be
       approximately 6.5% accretive to earnings per common share in 2020 and to deliver
       strong returns on capital. The transaction is expected to produce tangible book value
       per share dilution of 3.3% with an earnback period of less than two years.

       The merger agreement has been unanimously approved by both companies’ Boards
       of Directors. The merger is subject to customary closing conditions, including
       approval by Synovus and FCB Financial Holdings shareholders and approval by
       state and federal bank regulators.

The Registration Statement Omits Material Information, Rendering It False and Misleading

       36.     Defendants filed the Registration Statement with the SEC in connection with the

Proposed Transaction.

       37.     As set forth below, the Registration Statement omits material information with

respect to the Proposed Transaction, which renders the Registration Statement false and

misleading.

       38.     First, the Registration Statement omits material information regarding the analyses

performed by the Company’s financial advisors in connection with the Proposed Transaction,

Sandler O’Neill + Partners L.P. (“Sandler”), Guggenheim Securities, LLC (“Guggenheim”), and

Evercore Group L.L.C. (“Evercore”) (together, the “Financial Advisors”).

       39.     With respect to the Financial Advisors’ FCB and Synovus Peer Group Analyses,

the Registration Statement fails to disclose the financial data for each of the companies observed

by the Financial Advisors in the analyses.

       40.     With respect to the Financial Advisors’ Analysis of Selected Nationwide and

Florida M&A Transactions, the Registration Statement fails to disclose the individual multiples

and financial metrics for the transactions observed by the Financial Advisors in the analysis.



                                                6
  Case 1:18-cv-01570-CFC Document 1 Filed 10/11/18 Page 7 of 12 PageID #: 7



       41.     With respect to the Financial Advisors’ FCB Net Present Value Analysis, the

Registration Statement fails to disclose: (i) the terminal values for FCB; (ii) the Financial

Advisors’ basis for applying price to 2023 earnings per share multiples ranging from 12.0x to

15.0x in approximating the terminal value of FCB Class A common stock at December 31, 2022;

and (iii) the inputs and assumptions underlying the discount rates ranging from 9.0% to 14.0%.

       42.     With respect to the Financial Advisors’ Synovus Net Present Value Analysis, the

Registration Statement fails to disclose: (i) the terminal values for Synovus; (ii) the Financial

Advisors’ basis for applying price to 2023 earnings multiples ranging from 11.0x to 15.0x in

approximating the terminal value of Synovus common stock at December 31, 2022; and (iii) the

inputs and assumptions underlying the discount rates ranging from 8.0% to 13.0%.

       43.     With respect to the Financial Advisors’ Pro Forma Merger Analysis, the

Registration Statement fails to disclose: (i) the assumptions relating to purchase accounting

adjustments, cost savings, and transaction expenses; (ii) the one-time transaction costs and

expenses; and (iii) the extent to which the merger could be accretive or dilutive to Synovus’s

estimated earnings per share and tangible book value per share.

       44.     The Registration Statement fails to disclose FCB’s budget for the period through

June 30, 2019 that was made available to Guggenheim.

       45.     Further, the Registration Statement fails to disclose the pro forma purchase

accounting adjustments furnished by senior management of Synovus to Evercore.

       46.     When a banker’s endorsement of the fairness of a transaction is touted to

shareholders, the valuation methods used to arrive at that opinion as well as the key inputs and

range of ultimate values generated by those analyses must also be fairly disclosed.




                                                7
  Case 1:18-cv-01570-CFC Document 1 Filed 10/11/18 Page 8 of 12 PageID #: 8



       47.     Second, the Registration Statement omits material information regarding potential

conflicts of interest of the Company’s officers and directors.

       48.     Specifically, the Registration Statement fails to disclose the timing and nature of

all communications regarding future employment and directorship of the Company’s officers and

directors, including who participated in all such communications.

       49.     Communications regarding post-transaction employment during the negotiation of

the underlying transaction must be disclosed to stockholders. This information is necessary for

stockholders to understand potential conflicts of interest of management and the Board, as that

information provides illumination concerning motivations that would prevent fiduciaries from

acting solely in the best interests of the Company’s stockholders.

       50.     Third, the Registration Statement fails to disclose whether the Company entered

into any non-disclosure agreements that contained standstill and/or “don’t ask, don’t waive”

provisions that are or were preventing the counterparties from submitting superior offers to acquire

the Company.

       51.     Without this information, stockholders may have the mistaken belief that, if these

potentially interested parties wished to come forward with a superior offer, they are or were

permitted to do so, when in fact they are or were contractually prohibited from doing so.

       52.     The omission of the above-referenced material information renders the Registration

Statement false and misleading, including, inter alia, the following sections of the Registration

Statement: (i) Background of the Merger; (ii) Recommendation of the FCB Board of Directors and

Reasons for the Merger; (iii) Unaudited Financial Forecasts; and (iv) Opinions of FCB’s Financial

Advisors.




                                                 8
  Case 1:18-cv-01570-CFC Document 1 Filed 10/11/18 Page 9 of 12 PageID #: 9



       53.     The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s stockholders.

                                             COUNT I

     Claim for Violation of Section 14(a) of the 1934 Act and Rule 14a-9 Promulgated
                Thereunder Against the Individual Defendants and FCB

       54.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       55.     The Individual Defendants disseminated the false and misleading Registration

Statement, which contained statements that, in violation of Section 14(a) of the 1934 Act and Rule

14a-9, in light of the circumstances under which they were made, omitted to state material facts

necessary to make the statements therein not materially false or misleading. FCB is liable as the

issuer of these statements.

       56.     The Registration Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual Defendants

were aware of this information and their duty to disclose this information in the Registration

Statement.

       57.     The Individual Defendants were at least negligent in filing the Registration

Statement with these materially false and misleading statements.

       58.     The omissions and false and misleading statements in the Registration Statement

are material in that a reasonable stockholder will consider them important in deciding how to vote

on the Proposed Transaction. In addition, a reasonable investor will view a full and accurate

disclosure as significantly altering the total mix of information made available in the Registration

Statement and in other information reasonably available to stockholders.

       59.     The Registration Statement is an essential link in causing plaintiff and the

Company’s stockholders to approve the Proposed Transaction.



                                                  9
 Case 1:18-cv-01570-CFC Document 1 Filed 10/11/18 Page 10 of 12 PageID #: 10



       60.     By reason of the foregoing, defendants violated Section 14(a) of the 1934 Act and

Rule 14a-9 promulgated thereunder.

       61.     Because of the false and misleading statements in the Registration Statement,

plaintiff and the Class are threatened with irreparable harm.

                                             COUNT II

                      Claim for Violation of Section 20(a) of the 1934 Act
                       Against the Individual Defendants and Synovus

       62.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       63.     The Individual Defendants and Synovus acted as controlling persons of FCB within

the meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of their positions as

officers and/or directors of FCB and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Registration

Statement, they had the power to influence and control and did influence and control, directly or

indirectly, the decision making of the Company, including the content and dissemination of the

various statements that plaintiff contends are false and misleading.

       64.     Each of the Individual Defendants and Synovus was provided with or had unlimited

access to copies of the Registration Statement alleged by plaintiff to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause them to be corrected.

       65.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control and influence the particular transactions giving rise to the violations as alleged

herein, and exercised the same.           The Registration Statement contains the unanimous

recommendation of the Individual Defendants to approve the Proposed Transaction. They were



                                                  10
 Case 1:18-cv-01570-CFC Document 1 Filed 10/11/18 Page 11 of 12 PageID #: 11



thus directly involved in the making of the Registration Statement.

       66.     Synovus also had direct supervisory control over the composition of the

Registration Statement and the information disclosed therein, as well as the information that was

omitted and/or misrepresented in the Registration Statement.

       67.     By virtue of the foregoing, the Individual Defendants and Synovus violated Section

20(a) of the 1934 Act.

       68.     As set forth above, the Individual Defendants and Synovus had the ability to

exercise control over and did control a person or persons who have each violated Section 14(a) of

the 1934 Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their

positions as controlling persons, these defendants are liable pursuant to Section 20(a) of the 1934

Act. As a direct and proximate result of defendants’ conduct, plaintiff and the Class are threatened

with irreparable harm.

                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Directing the Individual Defendants to disseminate a Registration Statement that

does not contain any untrue statements of material fact and that states all material facts required in

it or necessary to make the statements contained therein not misleading;

       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act, as

well as Rule 14a-9 promulgated thereunder;




                                                 11
 Case 1:18-cv-01570-CFC Document 1 Filed 10/11/18 Page 12 of 12 PageID #: 12



       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff hereby requests a trial by jury on all issues so triable.

 Dated: October 11, 2018                             RIGRODSKY & LONG, P.A.

                                                By: /s/ Gina M. Serra
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                                                   12
